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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

                                              Case No.: 1:19-cv-00768-BMC
   LASHAWN SHARPE, JIM CASTORO
   and STEVE DAILEY, individually and on
   behalf of all others similarly situated,

                   Plaintiffs,

                -against-

   A & W CONCENTRATE COMPANY and
   KEURIG DR PEPPER,

                   Defendants.


   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
             FOR FINAL APPROVAL OF THE SETTLEMENT
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           On June 5, 2023, this Court granted the motion of Plaintiffs1 for preliminary approval of

 the Settlement Agreement and certification of the Settlement Class. See ECF No. 121

 (“Preliminary Approval Order”). Plaintiffs now move this Court for final approval of the

 Settlement and certification of the Settlement Class.

                     INTRODUCTION AND PROCEDURAL BACKGROUND

           The Settlement is an excellent result for the Settlement Class and should now receive final

 approval so that members of the Settlement Class can recover from the Settlement Amount of

 fifteen million dollars ($15,000,000). The Settlement would finally resolve the hotly contested

 claims of consumers who purchased A&W root beer or cream soda Products labeled as “Made

 With Aged Vanilla” between February 7, 2016, to June 2, 2023.2

           Plaintiffs asserted that Defendants deceptively and misleadingly marketed their Products

 by labelling them as being “Made With Aged Vanilla.” Plaintiffs alleged that this representation

 was misleading given that the source of vanilla flavor in the Products came from ethyl vanillin,

 which is not from the vanilla plant but rather an artificial flavor. The Settlement Agreement gives

 members of the Settlement Class close to a full refund of the premium price that they paid for the

 Products. It provides a minimum refund of $5.50 to Claimants regardless of whether or not they

 have Proof of Purchase, up to a maximum of $25.00, depending on the amount of Proof of Purchase

 they provide. In total, Defendants have committed to pay up to fifteen million dollars

 ($15,000,000) to pay for all valid Claims submitted by Claimants; costs of Notice and Claims

 Administration; payment of Class Counsel’s attorney fees and expenses; and payment of service

 awards to each of the Class Representatives (all of whom spent considerable time on this matter,


 1
  Unless otherwise indicated, capitalized terms shall have the meaning that the Settlement
 Agreement ascribes to them. See ECF No. 119 (“Settlement” or “Settlement Agreement”).
 2
     A list of the Products at issue is set forth in Exhibit A to the Settlement. ECF No. 119-1.


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 including, but not limited to, responding to extensive discovery requests and sitting for their

 depositions).

        As described in the Declaration of Jeanne C. Finnegan, APR of Kroll Notice Media

 Solutions, previously filed with the Court on June 2, 2023 (ECF No. 120-5) (“Finnegan Notice

 Decl.”), Kroll as the Settlement Administrator is implementing a wide-ranging notice program.

 See Finnegan Notice Decl. at ¶¶ 1-6, 14-28. The media Notice Program is designed to reach 76%

 of the potential Settlement Class with an average frequency of 4 times each and an estimated

 22,800,000 impressions. Finnegan Notice Decl. at ¶¶ 4, 20, 27. This notice program exceeds the

 recommendation of the Federal Judicial Center that a publication notice plan reach over 70% of

 targeted class members. Id. at ¶ 5.

        Importantly, the response from the Settlement Class has been overwhelmingly positive. To

 date, no class member has objected, and only one person has opted out of the settlement class. See

 Declaration of Michael R. Reese in Support of Final Approval (“Reese Final Approval Decl.”),

 filed simultaneously with this memorandum, at ¶ 22. In stark contrast, more than two hundred

 thousand (200,000) claims have been filed to date, with several months of the claims period still

 remaining for claimants to file claims. Reese Final Approval Decl. at ¶ 22.

        The Settlement easily meets the factors enumerated by Federal Rule of Civil Procedure

 23(e)(2), as amended in 2018, as well as the standards set forth by the Second Circuit in Detroit v.

 Grinnell Corp., 495 F.2d 448 (2d Cir. 1974) (“Grinnell”) for the procedural and substantive

 fairness of the Settlement. Accordingly, the Settlement should be finally approved.

        Lastly, this class action settlement readily satisfies the requirements of Federal Rule of

 Civil Procedure 23, supporting certification of the Settlement Class.




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                                         BACKGROUND

     I.   History of the Litigation and Settlement Negotiations

          This litigation has been pending for over four years and has been hard-fought during its

 entire pendency. See Reese Final Approval Decl. at ¶¶ 7-15.

          On February 7, 2019, Plaintiff LaShawn Sharpe filed a putative class action complaint in

 the United States District Court for the Eastern District of New York captioned Sharpe et al. v.

 A&W Concentrate Co. et al., Case No. 19-cv-00768-BMC (“Sharpe Action”), against Defendants

 on behalf of herself and all others similarly situated. Reese Final Approval Decl. at ¶ 6. This

 complaint was later amended on April 10, 2020 to add Jim Castoro and Christine Cooney3 as

 additional plaintiffs. Id. On April 10, 2020, Plaintiff Steve Dailey filed a putative class action

 complaint in the United States District Court for the Northern District of California, Dailey v. A&W

 Concentrate Co. et al., Case No. 4:20-cv-02732-JST (“Dailey Action”). Reese Final Approval

 Decl. at ¶ 6. Both the Sharpe Action and the Dailey Action are based on the allegation that the

 “Made With Aged Vanilla” claim on Defendants’ Products was misleading to a reasonable

 consumer because the Products contained ethyl vanillin, which is an artificial vanilla flavoring. Id.

          Defendants aggressively fought this litigation. Reese Final Approval Decl. at ¶¶ 7-15.

 Indeed, this litigation has included two motions to dismiss; two motions for summary judgment;

 two contested motions for class certification; a motion to decertify; and motion practice to compel

 discovery. Id. at ¶¶ 7-9. The Parties have engaged in significant discovery, including, but not

 limited to, extensive document production; numerous interrogatories; and nineteen (19)

 depositions, including that of factual and expert witnesses. Each of the three Plaintiffs were


 3
     Christine Cooney was subsequently dismissed as a plaintiff on May 7, 2021.




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 deposed, and each provided responses to document requests and interrogatories. Id. at ¶ 10.

        The Parties also conducted several mediation sessions, first with the Honorable John Mott

 (Ret.), then with the Honorable Wayne Andersen (Ret.). On January 19, 2023, the Parties

 conducted the last of three serious and informed arms-length negotiations via mediation with the

 Hon. Wayne Andersen (Ret.). Soon after the conclusion of the mediation, Judge Andersen made a

 mediator’s proposal, which the Parties accepted on February 1, 2023. Only after agreement as to

 material terms of Settlement, did the Parties discuss attorney fees and costs. The Parties only

 reached agreement on the payment of Class Counsel’s fees and costs on August 17, 2023. Reese

 Final Approval Decl. at ¶¶ 11-15.

        Plaintiffs’ objective in filing the Actions was to compensate Settlement Class Members

 damaged by the alleged misrepresentations. Through this litigation and the Settlement Agreement,

 Plaintiffs achieved substantial relief for the Settlement Class. Defendants have committed to

 paying up to $15,000,000 to pay for claims; class notice and claims administration; payment of

 Class Counsel’s fees and expenses; and payment of service awards to the three Class

 Representatives. Each Settlement Class Member who makes a claim will receive a minimum of

 $5.50, even if they do not have proof of purchase, and up to $25 with proof of purchase.

        Thus, the Settlement is an outstanding result for Plaintiffs and the members of the

 Settlement Class.

         The Parties only reached the Settlement after conducting substantial motion practice and

 discovery and engaging in extensive arm’s-length, good-faith negotiations, including several

 mediation sessions.While providing significant benefits for the Settlement Class Members, the

 Settlement also takes into account the substantial risks the Parties would face if the Actions

 progressed to trial. Reese Final Approval Decl. at ¶¶ 7-15, 17-21.




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   II.   The Terms of the Proposed Settlement

         The Settlement Agreement defines the Settlement Class, describes the Parties’ agreed-upon

  Settlement relief, and proposes a plan for disseminating notice to the Settlement Class Members.

      A. Certification of the Settlement Class

         Under the Settlement Agreement, the Parties agree to seek certification of a nationwide

  Settlement Class defined as follows:

         All consumers in the United States who purchased the Products during the period
         of February 7, 2016, to June 2, 2023.

         Excluded from this definition are the Released Parties, any government entities,
         persons who made such purchase for the purpose of resale, persons who made a
         valid, timely request for exclusion, and the Hon. Brian M. Cogan, the Hon. John
         Mott (Ret.) and the Hon. Wayne Andersen (Ret.), and any members of their
         immediate family.

      B. Relief for the Members of the Settlement Class

         The Settlement Agreement provides for substantial monetary relief. Defendants will pay

  up to fifteen million dollars ($15,000,000) to pay claims to members of the Settlement Class; the

  cost of notice and claims administration; Class Counsel’s fees and expenses; and service awards

  to each of the three Class Representatives. See Settlement Agreement at § 2.49.

      C. Service Awards and Attorneys’ Fees and Expenses

         Class Counsel is seeking payment of Service Awards of $5,000 to each of the three Class

  Representatives (for a total of $15,000) to compensate them for time and effort they took in their

  capacities as class representatives, including, but not limited to, responding to discovery requests

  and sitting for their depositions. Settlement Agreement at § 5.2. With respect to Class Counsel’s

  fees and expenses, Class Counsel are seeking $3,225,000, which Defendants have agreed not to

  oppose. See ECF No. 123 (Notice of Federal Civil Procedure Rule 23(e)(3) Statement and

  Agreement Between the Parties Regarding Payment of Class Counsel’s Fees and Expenses).



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     D. Settlement Notice

         The Court appointed Kroll Settlement Administration (“Kroll”) to administer the notice

  process. Preliminary Approval Order, ECF No. 121, at 5. In terms of the methods of notice, the

  Parties developed a robust notice program with the assistance of Kroll that included:

  (1)-comprehensive digital media based notice; (2) a dedicated Settlement Website through which

  Settlement Class members can obtain more detailed information about the Settlement and access

  case documents; and (3) a toll-free telephone helpline through which Settlement Class members

  can obtain additional information about the Settlement and request the class notice and/or a Claim

  Form. See Declaration of Scott M. Fenwick of Kroll Settlement Administration LLC previously

  filed with the Court on June 2, 2023, ECF No. 120-6, (“Fenwick Decl.”) at ¶¶ 3-6. Pursuant to the

  notice plan, 22,800,000 million digital impressions are being disseminated. Finnegan Notice Decl.

  at ¶ 20. The media portions of the Notice Program are delivering an approximate 76% reach with

  an average frequency of 4 times each. Finnegan Notice Decl. at ¶ 4.

         Under the Settlement Agreement, the Settlement Website posted Settlement-related and

  case-related documents such as the Long Form Notice in downloadable PDF format; answers to

  frequently asked questions; a Contact Information page that includes the address, telephone, and

  email for the Claim Administrator; the Settlement Agreement; the signed order of Preliminary

  Approval; the Second Amended Class Action Complaint; the Approved Product List; a

  downloadable and online version of the Claim Form; and the motion for final approval and the

  motion for Payment of Attorneys’ Fees, Costs and Service Awards. The Settlement Website also

  includes procedural information regarding the status of the Court approval process, such as

  announcements of the Final Approval Hearing date (which has been updated to reflect the new

  date of October 19, 2023). Fenwick Decl. at ¶ 4. To allow for the maximum convenience of the

  Settlement Class Members, claims may be submitted online. Id.


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         As part of the Settlement, Defendants agreed to pay for the substantial cost of notice and

  claims administration. The Notice Program, discussed above and in detail in the Finnegan Notice

  Declaration and Fenwick Declaration, is the best notice that is practicable under the circumstances

  and fully comports with due process and Federal Rule of Civil Procedure 23. The Notice Program

  includes a robust media campaign consisting of state-of-the-art internet advertising, a

  comprehensive social media campaign, and a paid search campaign. The Notice Program also

  provides for the implementation of a dedicated settlement website and toll-free telephone line

  where Settlement Class Members can learn more about their rights and options pursuant to the

  terms of the Settlement.

                                        LEGAL STANDARD

         The Second Circuit has recognized a “strong judicial policy in favor of settlements,

  particularly in the class action context.” McReynolds v. Richards-Cantave, 588 F.3d 790, 803 (2d

  Cir. 2009) (quoting Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 116 (2d Cir. 2005)

  (“Visa”)). “The compromise of complex litigation is encouraged by the courts and favored by

  public policy.” Visa, 396 F.3d at 117 (citation omitted). Under Rule 23(e)(2) of the Federal Rules

  of Civil Procedure, a court may approve a class action settlement “only . . . on finding that [the

  settlement agreement] is fair, reasonable, and adequate.” Moses v. The New York Times Co.,

  – F.4th –, 2023 WL 5281138, at *4 (2d Cir. Aug. 17, 2023) (citing Fed. R. Civ. P. 23(e)(2)).

         The “fair, reasonable, and adequate” standard effectively requires parties to show that a

  settlement agreement is both procedurally and substantively fair. Moses, 2023 WL 5281138, at *4-

  7. “To evaluate the fairness, reasonableness, and adequacy of a class settlement, [the Second

  Circuit has] historically applied the nine factors set out in Grinnell Corp., 495 F.2d at 463.” Id. at

  *4.


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         “In 2018, Rule 23 was amended to list specific factors relating to the court’s approval of

  the class settlement.” In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litigation,

  2022 WL 3043103, at *4 (E.D.N.Y. Aug. 2, 2022). “The revision was not to displace any factor,

  but rather to focus the court and the lawyers on the core concerns of procedure and substance,

  including whether:

         (A) The class representatives and class counsel have adequately represented the class;

         (B) The proposal was negotiated at arm’s length;

         (C) The relief provided for the class is adequate, taking into account:

                 (i)     the costs, risks, and delay of trial and appeal;
                 (ii)    the effectiveness of any proposed method of distributing relief to the class,
                         including the method of processing class-member claims;
                 (iii)   the terms of any proposed award of attorney’s fees, including timing of
                         payment; and
                 (iv)    any agreement required to be identified under Rule 23(e)(3);

         (D) The proposal treats Class Members equitably relative to each other.

  Moses, 2023 WL 5281138, at *4 (quoting Fed. R. Civ. P. 23(e)) (internal quotation on citation

  omitted). “The first two factors are procedural in nature and the latter two guide the substantive

  review of a proposed settlement.” Id. As the Second Circuit recently explained, “the revised Rule

  23(e)(2) does not displace our traditional Grinnell factors, which remain a useful framework for

  considering the substantive fairness of a settlement. But the rule now mandates courts to evaluate

  factors that may not have been highlighted in our prior case law, and its terms prevail over any

  prior analysis that are inconsistent with its requirements.”

         Here, under the standard set by the Second Circuit and the Federal Civil Procedure Rule

  23(e), as amended in 2018, the Settlement Agreement is both procedurally and substantively fair

  and is appropriate for approval.




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                                                ARGUMENT

I.          The Court Should Grant Final Approval of the Settlement Agreement.

            Class Counsel have worked steadfastly to reach a fair, reasonable, and adequate Settlement.

     See generally Reese Final Approval Decl. The Class Representatives and Class Counsel believe

     the claims the Settlement resolves are strong and have merit. Reese Final Approval Decl. at ¶ 18.

     They recognize, however, that significant expense and risk are associated with continuing to

     prosecute the claims through trial and any appeals. Id. at ¶¶ 19, 21. In negotiating and evaluating

     the Settlement, the Class Representatives and Class Counsel have taken these costs and

     uncertainties into account, as well as the delays inherent in complex class action litigation. Id.

     Additionally, in the process of investigating and litigating the Actions, Class Counsel conducted

     significant research on the consumer protection statutes at issue, as well as the overall legal

     landscape, to determine the likelihood of success and reasonable parameters under which courts

     have approved settlements in comparable cases. Class Counsel also engaged in significant

     contested motion practice, including opposing motions to dismiss; summary judgment practice;

     contested motions for class certification; and motion practice regarding discovery. Class Counsel

     also engaged in extensive discovery, including extensive document production, interrogatories,

     and requests for admissions. Class Counsel also deposed both factual and expert witnesses of the

     Defendants, as well as defending their own expert witnesses in depositions and those of the three

     Class Representatives. For the foregoing reasons, Class Counsel believe this Settlement provides

     significant relief to the Settlement Class Members and is fair, reasonable, adequate, and in the best

     interests of the Settlement Class. Id. at ¶¶ 18, 19, 21.




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     A. The Settlement Is Procedurally Fair.

         The first two factors under Rule 23(e)(2) concern the procedural fairness of the settlement,

  that is “the conduct of the litigation and of the negotiations leading up to the proposed

  settlement[.]”In re Restasis, 2022 WL 3043103, at *5.

             1. The Class Representatives and Class Counsel Have Adequately Represented
                the Class.

         The Class Representatives and Class Counsel have more than adequately represented the

  interest of the Settlement Class in this case. The Class Representatives were involved significantly

  in litigating these Actions, including by reviewing the complaints and other case documents,

  communicating with Class Counsel regarding the status of the cases and participating in the

  multiple days of mediation of the Actions; responding to discovery requests from Defendants; and

  sitting for their depositions. The Class Representatives fulfilled their responsibility of advancing

  and protecting the interests of the Settlement Class and evaluating the proposed Settlement to

  determine that it is in the best interests of the Settlement Class.

         Class Counsel also more than adequately represented the Settlement Class. As detailed

  above, Class Counsel performed an extensive investigation into the claims at issue; engaged in

  significant motion practice on behalf of the Class; engaged in extensive discovery, including, but

  not limited to, numerous depositions of fact witnesses and expert witnesses; and participated in

  several full day mediation sessions. Class Counsel have relied on their significant experience in

  litigating and resolving class actions in order to reach a Settlement that Class Counsel believe is

  an excellent result for the Settlement Class. See generally Reese Final Approval Decl.

             2. The Settlement Was Negotiated at Arm’s Length.

         Although there is no presumption of fairness simply because a settlement agreement

  resulted from arm’s length negotiations, Moses, 2023 WL 5281138 at *4, participation of a highly



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  qualified mediator in settlement negotiations supports this core factor of Rule 23(e). which

  supports a finding that a settlement should be approved. Tiro v. Pub. House Investments, LLC,

  2013 WL 2254551, at *2 (S.D.N.Y. May 22, 2013) (“The assistance of an experienced JAMS

  employment mediator . . . reinforces that the Settlement Agreement is non-collusive.”).

           Here, the Parties participated in informed arm’s length negotiations before two highly

  qualified mediators, first the Honorable John Mott (Ret.) and then the Honorable Wayne Andersen

  (Ret.). The multiple mediation sessions led to an agreement in principle to settle the case and,

  ultimately, the finalized Settlement Agreement. Reese Final Approval Decl. at ¶¶ 11-13.

           The Settlement Agreement is procedurally fair.

      B. The Settlement Is Substantively Fair.

           Factors (C)-(D) of Rule 23(e)(2) “are ‘substantive,’ addressing ‘the terms of the proposed

  settlement.” In re Restasis, 2022 WL 3043103, at *5. In this Circuit, to demonstrate the substantive

  fairness of a settlement agreement, a party must show that the factors the Second Circuit set forth

  in Grinnell weigh in favor of approving the agreement. Moses, 2023 WL 5281138, at *4. The

  Grinnell factors are:

           (1) the complexity, expense and likely duration of the litigation; (2) the reaction of
           the class to the settlement; (3) the stage of the proceedings and the amount of
           discovery completed; (4) the risks of establishing liability; (5) the risks of
           establishing damages; (6) the risks of maintaining the class action through the trial;
           (7) the ability of the defendants to withstand a greater judgment; (8) the range of
           reasonableness of the settlement fund in light of the best possible recovery; (9) the
           range of reasonableness of the settlement fund to a possible recovery in light of all
           the attendant risks of litigation.

  Id., at 4, n. 3.

           “Although the factors outlined in Grinnell and the revised Rule 23(e)(2) largely overlap,

  the rule now requires courts to expressly consider two core factors when reviewing the substantive

  fairness of a settlement: the adequacy of relief provided to a class and the equitable treatment of



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  class members.” Moses, 2023 WL 5281138, at *5.

         Here, both the Rule 23(e)(2)(C) and (D) factors and Grinnell factors overwhelmingly favor

  final approval of the Settlement Agreement.

             1. All of the Grinnell Factors Weigh in Favor of the Settlement

                 a. The complexity, expense, and likely duration of litigation

         “The greater the ‘complexity, expense and likely duration of the litigation,’ the stronger

  the basis for approving a settlement.” Meredith Corp. v. SESAC, LLC, 87 F. Supp. 3d 650, 663

  (S.D.N.Y. 2015). Consumer class action lawsuits, like these Actions, are complex, expensive, and

  lengthy. See, e.g., Dupler v. Costco Wholesale Corp., 705 F. Supp. 2d 231, 239 (E.D.N.Y. 2010);

  see also Manley v. Midan Rest. Inc., 2016 WL 1274577, at *9 (S.D.N.Y. Mar. 30, 2016)(“Most

  class actions are inherently complex[.]”). Should the Court decline to approve the Settlement

  Agreement, further litigation would resume. Such litigation could include contested class

  certification (and possibly decertification) proceedings and appeals, including competing expert

  testimony and contested Daubert motions and trial. Reese Final Approval Decl. at ¶¶ 19, 21. Each

  step towards trial has been, and would continue to be, subject to Defendants’ vigorous opposition

  and appeal. Id. Indeed, at the time of settlement, Defendants filed a motion for summary judgment

  pending, which, if successful, would have resulted in no class members receiving any benefit.

  Even if the case were to proceed to trial, any final judgment would likely be appealed, which would

  take significant time and resources. (Id.) These litigation efforts would be costly to all Parties and

  would require significant judicial oversight. (Id.)

         In short, “litigation of this matter . . . through trial would be complex, costly and long.”

  Manley, 2016 WL 1274577 at *9 (S.D.N.Y. Mar. 30, 2016) (citation omitted). “The settlement

  eliminates [the] costs and risks” associated with further litigation. Meredith Corp., 87 F. Supp. 3d

  at 663. “It also obtains for the class prompt [] compensation for prior [] injuries.” Id.


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         For all of these reasons, this factor weighs strongly in favor of final approval.

                 b. The reaction of the class to the settlement

         “It is well-settled that the reaction of the class to the settlement is perhaps the most

  significant factor to be weighed in considering its adequacy.” Rodriguez v. It’s Just Lunch

  International, 2020 WL 1030983, *4 (S.D.N.Y. March 2, 2020) (citing Grinnell). Here, the

  Settlement Class Members have until August 28, 2023 to object to or opt-out of the Settlement.

  As of August 18, 2023, no class member has objected and only one person has opted out. See

  Reese Final Approval Decl. at ¶ 22. At the same time, and in stark contrast, more than two hundred

  (200,000) claims have been submitted as of August 18, 2023, with several months remaining for

  class members to submit claims. Id. This suggests nearly universal support for the Settlement and

  constitutes strong circumstantial evidence supporting its fairness.

                 c. The stage of the proceedings and the amount of discovery completed.

         The third Grinnell factor—the stage of the proceedings and the amount of discovery

  completed—considers “whether Class Plaintiffs had sufficient information on the merits of the

  case to enter into a settlement agreement . . . and whether the Court has sufficient information to

  evaluate such a settlement.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig.,

  986 F. Supp. 2d 207, 224 (E.D.N.Y. 2013) (citations omitted).

         Here, “discovery has advanced sufficiently to allow the parties to resolve the case

  responsibly.” Manley, 2016 WL 1274577, at *9. Class Counsel have conducted extensive

  discovery related to claims, including interrogatories; requests for admission; review of

  voluminous document production; and, numerous depositions, both of factual and expert

  witnesses. Reese Final Approval Decl. at ¶ 10; see also Zeltser v. Merrill Lynch & Co., 2014 WL

  4816134, at *6 (S.D.N.Y. Sept. 23, 2014) (“Here, through both formal discovery and an informal

  exchange of information prior to mediation, Plaintiffs obtained sufficient discovery to weigh the


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  strengths and weaknesses of their claims and to accurately estimate the damages at issue.”).

  Consequently, Plaintiffs had sufficient information to evaluate the terms of the proposed

  Settlement.

                 d. The risks of establishing liability and damages

         “Litigation inherently involves risks.” Willix v. Healthfirst, Inc., 2011 WL 754862, at *4

  (E.D.N.Y. Feb. 18, 2011).“[I]f settlement has any purpose at all, it is to avoid a trial on the merits

  because of the uncertainty of the outcome.” Banyai v. Mazur, 2007 WL 927583, at *9 (S.D.N.Y.

  Mar. 27, 2007).

         Plaintiffs recognize that, as with any litigation, the Actions involve uncertainties as to their

  outcome. Reese Final Approval Decl. at ¶ 21. Defendants continue to deny all of Plaintiffs’

  allegations, and should this matter proceed, Defendants will vigorously defend themselves on the

  merits. Id. at ¶ 19. Defendants would likely appeal, if possible, decisions in Plaintiffs’ favor. Id.

  Absent this Settlement, Defendants would continue to challenge Plaintiffs at every litigation step,

  presenting significant risks of ending the litigation while increasing costs to Plaintiffs and the

  Settlement Class Members. Id. Further litigation presents no guarantee for recovery, let alone a

  recovery greater than the recovery for which the Settlement provides. Id.

         For these reasons, the risks of establishing liability and damages strongly support final

  approval under both Grinnell and Rule 23(e)(2)(C)(i)

                 e. The risk of maintaining class action status through trial

         Defendants have stated that but for the Settlement, they would continue to vigorously

  oppose class certification, and had a motion to decertify pending at the time of settlement. Reese

  Final Approval Decl. at ¶ 19. See In re Med. X-Ray Film Antitrust Litig., 1998 WL 661515, at *5

  (E.D.N.Y. Aug. 7, 1998) (possibility that defendant would challenge maintenance of class in

  absence of settlement was risk to class and potential recovery). Indeed, even with a certified class,


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  the certification is not set in stone. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982) (“Even

  after a certification order is entered, the judge remains free to modify it in the light of subsequent

  developments in the litigation.”). Given the risks, this factor weighs in favor of final approval,

  under both Grinnell and Rule 23(e)(2)(C)(i).

                 f. The ability of Defendants to withstand a greater judgment.

         It is more important that the Settlement Class receive some relief than possibly “yet more”

  relief. See Charron v. Pinnacle Grp. N.Y. LLC, 874 F. Supp. 2d 179, 201 (S.D.N.Y. 2012); see

  also Bezdek v. Vibram USA, Inc., 809 F.3d 78, 83 (1st Cir. 2015) (“The fact that a better deal for

  Class Members is imaginable does not mean that such a deal would have been attainable in these

  negotiations, or that the deal that was actually obtained is not within the range of reasonable

  outcomes.”). Further, “[c]ourts have recognized that a [defendant’s] ability to pay is much less

  important than the other Grinnell factors, especially where the other factors weigh in favor of

  approving the settlement.” In re Sinus Buster Products Consumer Litig., 2014 WL 5819921, at

  *11 (E.D.N.Y. Nov. 10, 2014) (citations omitted). A “defendant’s ability to withstand a greater

  judgment, standing alone, does not suggest that the settlement is unfair.” Viafara v. MCIZ Corp.,

  2014 WL 1777438, at *7 (S.D.N.Y. May 1, 2014). For these reasons, this factor is neutral.

                 g. The range of reasonableness of the settlement in light of the best possible
                    recovery and in light of all the attendant risks of litigation

         “There is a range of reasonableness with respect to a settlement—a range which recognizes

  the uncertainties of law and fact in any particular case and the concomitant risks and costs

  necessarily inherent in taking any litigation to completion[.]”Visa, 396 F.3d at 119. “In other

  words, the question for the Court is not whether the settlement represents the highest recovery

  possible . . . but whether it represents a reasonable one in light of the many uncertainties the class

  faces[.]” Bodon v. Domino’s Pizza, LLC, 2015 WL 588656, at *6 (E.D.N.Y. Jan. 16, 2015).



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          Here, the relief for which the Settlement Agreement provides is within the range of

  reasonableness, especially in light of the best possible recovery and in light of all the attendant

  risks of litigation. See Reese Final Approval Decl. at ¶ 21. The gravamen of the Actions is that

  Defendants allegedly were deceiving consumers by misrepresenting the source of their Products’

  vanilla flavor. The cash compensation, to which eligible Settlement Class Members will be

  entitled, goes a significant way toward compensating Settlement Class Members for the damages

  they incurred on account of Defendants’ alleged deceptive representations about the Products.

  Defendants charged a premium over its competitors of up to 28% per product, which equates to

  up to a $2.10 price premium. See Declaration and Expert Report of J. Michael Dennis, Ph.D., dated

  October 13, 2021, ECF No. 98-3, at 343-546. The Settlement Agreement provides that Settlement

  Class Members shall receive a minimum cash payment of $5.50, and then $0.50 for each product

  thereafter for which proof of purchase has been provided, up to $25.00. Reese Final Approval

  Decl. at ¶ 20. Thus, Settlement Class Members will receive near full compensation for their

  injuries. Id.

          As discussed above, although Plaintiffs believe their claims are strong, continuation of this

  litigation poses significant risks. Reese Final Approval Decl. at ¶ 21. While continuation of the

  litigation might not result in an increased benefit to the Settlement Class, it would lead to

  substantial expenditure by both Parties. Id. Considering the risks and benefits Plaintiffs have

  outlined above, the Settlement falls within the “range of reasonableness.” Class Counsel have

  achieved the best possible recovery considering the merits of the Settlement, weighed against the

  cost and risks of further litigation. Id.




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         Thus, collectively and independently, the Grinnell factors warrant the conclusion that the

  Settlement Agreement is fair, adequate, and reasonable. As such, Plaintiffs respectfully request

  that the Court grant final approval of the Settlement.

             2. The Remaining Rule 23(e)(2)(C) & (D) Factors Weigh in Favor of Approval of
                the Settlement.

         As discussed in detail in the Finnegan Notice Declaration, the notice plan is designed to

  provide a 76% reach with 4 times frequency, which meets the standards set by the Federal Judicial

  Center. See Finnegan Notice Declaration at ¶ 4. Class Members can submit claims via the

  settlement website or request a claim form via the website or toll-free hotline. Fenwick Notice

  Declaration at ¶ 4. As such, Rule 23(e)(2)(C)(ii) factor weighs in favor of the settlement.

         The total value of the settlement represents $15,000,000 for the benefit to Class Members.

  The present request for payment of fees and reimbursement of expenses is $3,225,000, which

  Defendants have agreed not to oppose. Of this amount, $306,766.50 are for expenses. Reese Final

  Approval Decl. at ¶ 24. Accordingly, the request for payment of fees to Class Counsel is for

  $2,918,233.50, which represents 19.5 % of the Settlement Amount. That amount is well within the

  range awarded in this Circuit. See. e.g., Mendez v. MCSS Rest. Corp., 2022 WL 3704591, at *9

  (E.D.N.Y. Aug. 26, 2022) (“Class Counsel's fee request of one-third (33.33%) of the Settlement

  Fund is ‘reasonable and consistent with the norms of class litigation in this circuit…and should be

  awarded on the basis of the total funds made available.’”) (collecting cases); Mohney v. Shelly’s

  Prime Steak, Stone Crab & Oyster Bar, 2009 WL 5851465, at *5 (S.D.N.Y. Mar. 31, 2009) (“Class

  Counsel’s request for 33% of the Settlement Fund is typical in class action settlements in the

  Second Circuit.”); Torres v. Gristede’s Operating Corp., 519 F. App’x 1, 3 (2d Cir. 2013)

  ("Calculated on the basis of the total funds made available —i.e., as if it were a common settlement

  fund—the $3.86 million total award of costs and fees here represents 52.2% of the entire $7.39



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  million recovered by plaintiffs… Such an award does not constitute an abuse of discretion simply

  because it deviates materially from the percentage usually awarded in similar cases."). The Rule

  23(e)(2)(C)(iii) factor weighs in favor of the Settlement.

         Other than the Settlement Agreement and the agreement on payment of Class Counsel’s

  fees and expenses (which was not reached until August 17, 2023)(See ECF No. 123), there are no

  other agreements amongst the parties. The Rule 23(e)(2)(C)(iv) factor weighs in favor of the

  Settlement.

         Finally, all Class Members are eligible to receive the same relief, namely, a minimum of

  $5.50 and up to $25.00 (depending on the amount of proof of purchased provided by the claimant).

  All Class Members are treated equally. Thus, the Rule 23(e)(2)(D) factor weighs in favor of

  settlement. Moreover, the Second Circuit recently held that service awards such as that requested

  here “treat differently situated class representatives equitably relative to the class members who

  simply sit back until they are alerted to a settlement.” Moses, 2023 WL 5281138, at *13 (“We

  decline to depart from Rule 23’s mandate, which permits fair and appropriate incentive awards.”).

   II.   The Court Should Certify the Settlement Class.

         A court may certify a settlement class upon finding that the action underlying the settlement

  satisfies all Rule 23(a) prerequisites and at least one prong of Rule 23(b). Amchem Prods., Inc. v.

  Windsor, 521 U.S. 591, 614, 619–22 (1997). As Plaintiffs set forth below, the proposed Settlement

  Class satisfies all the requirements of Rule 23(a) and Rule 23(b)(3). Consequently, Plaintiffs

  respectfully ask the Court to certify the Settlement Class for settlement purposes.

      A. The Settlement Class Meets All Prerequisites of Rule 23(a).

         Rule 23(a) has four prerequisites for certification of a class: (i) numerosity;

  (ii) commonality; (iii) typicality; and (iv) adequate representation. Fed. R. Civ. P. 23(a). The

  Settlement Class meets each prerequisite and, as a result, satisfies Rule 23(a).


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     1. Numerosity

         Under Rule 23(a)(1), plaintiffs must show that the proposed class is “so numerous that

  joinder of all [its] members is impracticable.” Fed. R. Civ. P. 23(a)(1). The Second Circuit has

  found numerosity met where a proposed class is “obviously numerous.” Marisol A. v. Giuliani,

  126 F.3d 372, 376 (2d Cir. 1997). Here, there is no dispute that thousands of people nationwide

  purchased the Products during the Class Period. Indeed, to date more than 200,000 claims have

  been submitted. Reese Final Approval Decl. at ¶ 22. Numerosity is easily satisfied.

     2. Commonality

         Under Rule 23(a)(2), plaintiffs must show that “questions of law or fact common to the

  [proposed] class” exist. Fed. R. Civ. P. 23(a)(2). Commonality requires that the proposed Class

  Members’ claims all centrally “depend upon a common contention,” which “must be of such a

  nature that it is capable of classwide resolution,” meaning that “determination of its truth or falsity

  will resolve an issue that is central to the validity of each one of the claims in one stroke.” Wal-

  Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011). “[F]or purposes of Rule 23(a)(2) even a

  single common question will do[.]”Id. (citation, quotation marks, and internal edits omitted). The

  Second Circuit has construed this instruction liberally, holding that plaintiffs need only show that

  their injuries “derive[d] from defendants’ . . . unitary course of conduct.” Sykes v. Mel S. Harris &

  Assocs. LLC, 780 F.3d 70, 84 (2d Cir. 2015).

         Here, there are common questions of law and fact that will generate common answers apt

  to drive the resolution of the litigation, including but not limited to whether Defendants deceived

  consumers about the source of the vanilla flavor in the Products because the vanilla flavor came

  from an artificial source—ethyl vanillin—and not aged vanilla. Resolution of this common

  question requires evaluation of the merits under an objective standard, i.e., the “reasonable

  consumer” test. Mantikas v. Kellogg Co., 910 F.3d 633 (2d Cir. 2018) (“To state a claim for false


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  advertising or deceptive practices under New York or California law, a plaintiff must plausibly

  allege that the deceptive conduct was ‘likely to mislead a reasonable consumer acting reasonably

  under the circumstances”). Thus, commonality is satisfied.

     3. Typicality

         Under Rule 23(a)(3), plaintiffs must show that the proposed class representatives’ claims

  “are typical of the [class’] claims.” Fed. R. Civ. P. 23(a)(3). Plaintiffs must show that “the same

  unlawful conduct was directed at or affected both the named plaintiff and the class sought to be

  represented.” Robidoux v. Celani, 987 F.2d 931, 936–37 (2d Cir. 1993) (citations omitted).

         Here, typicality is met because the same alleged unlawful conduct by Defendants, i.e., their

  allegedly misleading “Made With Aged Vanilla” claim, was directed at, or affected, both Plaintiffs

  and the members of the Settlement Class. Robidoux, 987 F.2d at 936–37.

     4. Adequacy of representation

         Under Rule 23(a)(4), plaintiffs must show that the proposed class representatives will

  “fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). Plaintiffs must

  demonstrate that: (1) the class representatives do not have conflicting interests with other Class

  Members; and (2) class counsel is “qualified, experienced and generally able to conduct the

  litigation.” Marisol A., 126 F.3d at 378.

         To satisfy the first requirement, Plaintiffs must show that “the members of the class possess

  the same interests” and that “no fundamental conflicts exist” between a class’ representative(s)

  and its members. Charron, 731 F.3d at 249. Here, Plaintiffs possess the same interests as the

  proposed Settlement Class Members because Plaintiffs and the Settlement Class Members were

  all allegedly injured in the same manner based on their purchase of the Products.

         With respect to the second requirement, Class Counsel are qualified, experienced, and able

  to conduct the litigation. Class Counsel are not representing clients with interests at odds with the


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  interests of the Settlement Class Members and are not acting as class representatives. Reese Final

  Approval Decl. at ¶¶ 3, 26. Further, they have invested considerable time and resources into the

  prosecution of the Actions. Id. at ¶¶ 6-13. Class Counsel have qualified as lead counsel in other

  class actions and have a proven track record of successful prosecution of significant class actions.

  Reese Final Approval Decl. at¶ 3, Ex. 1 (Reese LLP firm resume); Declaration of Spencer Sheehan

  in Support of Final Approval (“Sheehan Decl.), Ex. 1 (Sheehan & Associates, P.C. firm resume).

  “In the absence of proof to the contrary, courts presume that class counsel is competent and

  sufficiently experienced to prosecute vigorously the action on behalf of the class.” In re Methyl

  Tertiary Butyl Ether (MTBE) Products Liab. Litig., 241 F.R.D. 185, 199 n. 99 (S.D.N.Y. 2007).

         For the foregoing reasons, Plaintiffs have satisfied the adequacy prerequisite.

     5. Ascertainability

         The Second Circuit has recognized an implied requirement of ascertainability in Rule 23.

  “‘[A] class is ascertainable if it is defined using objective criteria that establish a membership with

  definite boundaries.’” Price v. L’Oreal USA, Inc., No. 17 Civ. 614 (LGS), 2018 WL 3869896, *4

  (S.D.N.Y. Aug. 15, 2018) (quoting In re Petrobras Sec. Litig., 862 F.3d 250, 257 (2d Cir. 2017)).

  Satisfying the ascertainability requirement “does not ‘require a showing of administrative

  feasibility at the class certification stage.’” Id. As in Price, here the Settlement Class is

  ascertainable because it “can be determined with reference to one objective criterion with definite

  boundaries: whether an individual purchased a Product during the class period.” Id.

  Ascertainability in this case is met by the class definition.




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     B. The Settlement Class Meets All Requirements of Rule 23(b)(3).

         “In addition to satisfying Rule 23(a)’s prerequisites, parties seeking class certification must

  show that the action is maintainable under Rule 23(b)(1), (2), or (3).” Amchem Prods., Inc., 521

  U.S. at 614. Plaintiffs seek certification under Rule 23(b)(3). Under that rule, the court must find

  that “questions of law or fact common to Class Members predominate over any questions affecting

  only individual members” and “a class action is superior to other available methods for fairly and

  efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

     1. Common legal and factual questions predominate in this action.

         “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are sufficiently

  cohesive to warrant adjudication by representation.” Amchem Prods., Inc., 521 U.S. at 623. The

  Second Circuit has held that “to meet the predominance requirement . . . a plaintiff must establish

  that the issues in the class action that are subject to generalized proof, and thus applicable to the

  class as a whole, predominate over those issues that are subject only to individualized proof.” In

  re Nassau Cty. Strip Search Cases, 461 F.3d 219, 227 (2d Cir. 2006). In the context of a request

  for settlement-only class certification, concerns about whether individual issues “would present

  intractable management problems” at trial drop out because “the proposal is that there be no trial.”

  Id. at 620. As a result, “the predominance inquiry will sometimes be easier to satisfy in the

  settlement context.” Tart v. Lions Gate Entm’t Corp., 2015 WL 5945846, at *4 (S.D.N.Y. Oct. 13,

  2015) (citation omitted). Furthermore, consumer protection cases readily satisfy the predominance

  inquiry. Amchem Prods., Inc., 521 U.S. at 625.

         Here, for settlement purposes, the central common questions predominate over any

  questions that may affect individual Settlement Class Members. The central common questions

  include whether Defendants’ “Made With Aged Vanilla” representation on the Products was

  misleading and likely to deceive reasonable consumers regarding the source of vanilla flavor of


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  the Products. These issues are subject to “generalized proof” and “outweigh those issues that are

  subject to individualized proof.” In re Nassau Cty. Strip Search Cases, 461 F.3d at 227–28 (citation

  omitted). The Settlement Class meets the predominance requirement for settlement purposes.

      2. A class action is the superior means to adjudicate Plaintiffs’ claims.

          Rule 23(b)(3) also requires that “a class action is superior to other available methods for

  fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Here, the class action

  mechanism is superior to individual actions for numerous reasons. First, “[t]he interest of the class

  as a whole in litigating the many common questions substantially outweighs any interest by

  individual members in bringing and prosecuting separate actions.” Meredith Corp., 87 F. Supp. 3d

  at 661. Additionally, a class action is superior here because “it will conserve judicial resources”

  and “is more efficient for Class Members, particularly those who lack the resources to bring their

  claims individually.” Zeltser, 2014 WL 4816134, at *3. As a result of the allegedly false and

  misleading labeling, the Products were sold at a premium price. The cost to purchase any of the

  Products is less than $20. Thus, the potential recovery for any individual Settlement Class Member

  is relatively small. As a result, the expense and burden of litigation made it virtually impossible

  for Settlement Class Members to seek redress on an individual basis. By contrast, in a class action,

  the cost of litigation is spread across the entire class, thereby making litigation viable. See, e.g.,

  Tart, 2015 WL 5945846, at *5. “Employing the class device here will not only achieve economies

  of scale for Class Members but will also conserve judicial resources and preserve public

  confidence in the integrity of the system by avoiding the waste and delay repetitive proceedings

  and preventing inconsistent adjudications.” Zeltser, 2014 WL 4816134, at *3. For all the foregoing

  reasons, a class action is superior to individual suits.

          In sum, because the requirements of Rule 23(a) and Rule 23(b)(3) are satisfied, the Court

  should finally certify the Settlement Class.


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                                        CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court enter a Final

  Approval Order certifying the proposed Settlement Class and granting final approval of the

  Settlement.

  Date: August 18, 2023                         Respectfully submitted,

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